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Defendant Status Sheet
(Prepare ONE for EACH defendant)

Defendant Status

Defendant Name: SAJED AL-MAARE]

Is there already a charging document filed for this defendant for this case in this district?
LlYes &XNo If yes: Select Charging Doc Type

If yes, please enter the cause number below:

CR Enter CR Cause Number here. or MJ Enter MJ Cause Number here.

Has the Defendant had an initial appearance in this case in this district? OO Yes No

Defendant Location

C] At the FDC under the cause number indicated above.
L] At the FDC under a different cause number: Enter different cause number here.

L] In custody under this cause number in another District: Enter other District here.

LI In custody (different cause number) in another District: Enter other info here.

LJ In local custody: Enter local jurisdiction here.

LJ In the community on supervision under cause number: Enter cause number here.

XI At large.

L] Other: Click or tap here to enter text.

Release

_] Continue Conditions of release
_] Continue Detention

XI Not set; temporary detention; detention hearing scheduled for: TBD

Arraignment

Warrant to Issue (MUST complete Defendant Arrest Warrant Info Sheet).
LJ Summons to be issued for: Click or tap to enter a date.

L] Defendant Address: Click or tap here to enter text.

L] Letter to defense counsel for appearance on: Click or tap to enter a date.

L] Defense Counsel name and address: Click or tap here to enter text.

| Trial

Estimated trial length (days): 5 days

